
718 S.E.2d 400 (2011)
STATE of North Carolina
v.
Quincy Teeyon KETTER.
No. 284P11.
Supreme Court of North Carolina.
November 9, 2011.
M. Alexander Charns, Durham, for Ketter, Quincy Teeyon.
Kathleen M. Waylett, Special Deputy Attorney General, for State of N.C.
Peter S. Gilchrist, III, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 12th of July 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of November 2011."
